                          UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE

“Barbara,” et al.

              v.
                                                                Civil No. 25-cv-244-JL-AJ
Donald J. Trump, President of the United
States, in his official capacity, et al.

  ORDER GRANTING PETITIONERS’ MOTION FOR PROVISIONAL CLASS
      CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL

        After careful consideration of the parties’ submissions, the supporting declarations,
the applicable law, and the filings and record in this case, the court GRANTS Petitioners’
Motion for Provisional Class Certification and Appointment of Class Counsel (doc. 5).
        The Court hereby finds that Petitioners have satisfied the requirements for
provisional class certification under Federal Rules of Civil Procedure 23(a) and (b)(2).
Specifically, Petitioners have demonstrated that (1) members of the proposed class are so
numerous that joinder is impracticable; (2) there are questions of law and fact common to
the class; (3) the claims of the petitioners are typical of the claims of the class members;
and that (4) Petitioners and their counsel, as representatives of the class, will fairly and
adequately protect the interests of the class. Additionally, this court provisionally finds
that Respondents have acted on grounds generally applicable to the class in its entirety,
thereby making appropriate final injunctive and declaratory relief for all class members.
Because this certification is provisional, final relief is not granted at this time.
        In light of the above, this court grants the petitioners’ motion and provisionally
certifies the following class for the purpose of preliminary injunctive relief: All current
and future persons who are born on or after February 20, 2025, where (1) that person’s
mother was unlawfully present in the United States and the person’s father was not a
United States citizen or lawful permanent resident at the time of said person’s birth, or (2)
that person’s mother’s presence in the United States was lawful but temporary, and the
person’s father was not a United States citizen or lawful permanent resident at the time of
said person’s birth.

       SO ORDERED.

                                           Joseph N. Laplante
                                           United States District Judge

Dated: July 10, 2025
cc: Counsel of Record
